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                    EXHIBIT C
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                  AMENDED AND RESTATED MASTER SERVICES AGREEMENT

           THIS AMENDED AND RESTATED MASTER SERVICES AGREEMENT (“Agreement”)
  is effective as of January 1, 2021 (“Effective Date”) by and between THR PROPERTY MANAGEMENT
  L.P., a Delaware limited partnership, on behalf of itself and its affiliates, whose principal place of business
  1717 Main Street, Suite 2000, Dallas, Texas 75201 (“Customer”) and SMS ASSIST L.L.C., a Delaware
  limited liability company, whose principal place of business is 875 N. Michigan Avenue, Suite 2800,
  Chicago, Illinois 60611 (“SMS Assist”). Customer and SMS Assist may be referred to individually as a
  “party” and collectively as the “parties.” This Agreement amends, restates, and replaces in its entirety the
  Master Services Agreement dated January 31, 2018 (“2018 Agreement”) and the Master Platform Services
  Agreement dated January 31, 2018 (“Platform Agreement”) between the parties as of the Effective Date.

           WHEREAS, SMS Assist is engaged in the business of providing facility services including, but not
  limited to, snow removal and salting and sanding, landscaping, periodic floor cleaning, window washing,
  HVAC maintenance and service, plumbing, electrical and handyman services and other facilities
  maintenance services; and

           WHEREAS, Customer is engaged in the rental property business and has real estate assets across
  the nation which must be maintained in the course of its business; and

           WHEREAS, the parties are desirous of entering into an agreement providing for the procurement
  of certain SMS Assist services for Customer, to replace in its entirety the 2018 Agreement and the Platform
  Agreement; and

          WHEREAS, the parties previously entered into the Platform Agreement to provide certain
  technology and call center services (“Platform Services”) in connection with the services to be performed
  by SMS Assist; and

           WHEREAS, the Platform Agreement provided that Customer will pay SMS Assist monthly fees
  for Platform Services and SMS Assist will issue a corresponding credit against monthly fees for Contracted
  Services invoiced under this Agreement;

           WHEREAS, in the course of operating under the 2018 Agreement and Platform Agreement, the
  parties agreed to forego compliance with the invoicing and payment terms in the Platform Agreement; and

          WHEREAS, the parties wish to formally incorporate the Platform Services into this Agreement
  and revise the invoicing and payment terms to align with current practice, as amended herein.

          NOW, THEREFORE, by reason of the premises and in consideration of the mutual covenants
  contained herein, the parties hereto agree as follows:

           1.      CONTRACTED SERVICES. Commencing on the Effective Date, Customer does hereby
  engage SMS Assist as the provider to Customer of those services described in any statement of work
  (“Statement of Work” or “SOW”) attached hereto or executed in accordance with the terms of this
  Agreement (the “Contracted Services”). SMS Assist shall also provide the Platform Services described in
  SOW1 – Exhibit A in connection with the Contracted Services. Each Statement of Work shall contain an
  Exhibit A which details: (i) the Services to be provided by SMS Assist, (ii) the frequency of scheduled
  services or the circumstances for reactive services, (iii) any applicable compensation or pricing terms, and
  (iv) any amendments to the terms of the Agreement required as a result of such Statement of Work. Further,
  each Statement of Work shall contain an Exhibit that lists the locations, as determined by mutual agreement
  of the parties, where SMS Assist may cause the Contracted Services to be performed at (“Locations”). The

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  Contracted Services shall be performed in a good and workmanlike manner and with a level of care in
  accordance with industry standards, applicable statutes, ordinances, codes, rules, regulations, orders or
  determinations of any governmental authority and the scope of work agreed to by the parties. To the extent
  required by applicable statutes, ordinances, codes, rules, regulations, orders or determinations of any
  governmental authority (“Applicable Law”), the Contracted Services will be performed by licensed, bonded
  and/or insured contractors. SMS Assist shall take such steps in the performance of the Contracted Services
  to ensure that no lien, cloud or other impairment of title may be made to the properties and improvements
  owned by affiliates of Customer. To the extent that SMS Assist secures product and/or work warranties,
  SMS Assist shall ensure that any and all product and work warranties are assigned to Customer in a timely
  manner. SMS Assist will take reasonable steps to ensure that: SMS Assist adheres to Customer’s policies
  regarding resident maintenance responsibilities and obligations. Except as otherwise provided herein,
  during the term of this Agreement, SMS Assist shall be Customer’s exclusive provider of the Contracted
  Services, provided that Customer may elect to provide any listed or unlisted Contracted Service to itself
  using its own direct internal labor or specialized vendors that are part of Customer’s vendor credentialing
  system and who do not perform services that are substantially similar to the services performed by SMS
  Assist under SOW1.

          2.       PRICE AND PAYMENT TERMS.

           a) The fees for Contracted Services supplied under this Agreement shall be set forth in the
  applicable SOW. The fees set forth in the SOW shall not be modified during the term of this Agreement
  without the prior written consent of Customer. Prices, as may be set forth in an SOW, do not include sales,
  use, excise or similar taxes which may be applicable to the Contracted Services and such taxes shall be
  added when and where applicable. For avoidance of doubt, SMS Assist will take commercially reasonable
  steps to prevent charging Customer duplicative taxes and to ensure, to the extent reasonably feasible and to
  the best of SMS Assist’s knowledge, that Customer will not be charged duplicative taxes. In the event that
  SMS Assist determines that Customer has been charged duplicative taxes, SMS Assist shall notify
  Customer and shall assure that Customer is reimbursed for such duplicative payment(s). In the event that
  the Contracted Service is a reactive service, SMS Assist shall not exceed the Not to Exceed (“NTE”) price
  as set forth in the applicable exhibit of any Statement of Work, unless otherwise authorized by Customer.

            b) SMS Assist shall invoice Customer for all Contracted Services performed and each invoice
  shall (i) identify the Contracted Services performed, the date the Contracted Services were provided, the
  address where the Contracted Services were performed, the price of the Contracted Services, and any
  applicable taxes; and (ii) specify that payment is due within ten (10) days from the date of the invoice (i.e.,
  the date of receipt of the SMS Assist invoice by Customer). SMS Assist will use its best efforts to invoice
  Customer for all Contracted Services not later than ninety (90) days after the Contracted Services are
  performed. Consistent with past practice, SMS Assist will invoice Customer on a weekly basis, unless
  otherwise agreed by the parties. No early pay discount will be provided. At the election of SMS Assist,
  invoiced amounts that are not paid when due and remain unpaid for a period in excess of five (5) days after
  written notice from SMS Assist to Customer that such invoice remains unpaid will bear interest at the
  lesser of one and a half percent (1.5%) interest per month or the highest rate permissible under applicable
  law, whichever is less; provided, however, if Customer is disputing the invoice for any reason, no interest
  shall be charged during such dispute period.

          c)      Customer shall pay SMS Assist a one-time signing bonus of four million dollars
  ($4,000,000.00) on or before December 31, 2020.

          3.       TERM.



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         a) This Agreement shall commence on the Effective Date and continue through December 31,
  2024 (the “Initial Term”), unless earlier terminated or extended in accordance with the terms of this
  Agreement.

          b) On or before December 31, 2022, the parties may mutually agree in writing to extend this
  Agreement for one (1) additional year, through December 31, 2025 (a “Renewal Term”), under terms
  identical to Period 4 in SOW1 – Exhibit B (except as otherwise set forth in Section 13 herein).

          c) The parties agree that as of the Effective Date of this Agreement, the 2018 Agreement is
  terminated in its entirety and is replaced by this Agreement and is of no further force and effect.

         4.     TERMINATION. This Agreement may be terminated prior to expiration of the Initial
  Term or any Renewal Term set forth in Section 3 as follows:

           a) In the event of a material breach by either party of this Agreement or any Statement of Work,
  the non-breaching party shall have the right to terminate this Agreement with 7 days’ advance written notice
  to the breaching party, provided that the non-breaching party was given a reasonable period to cure such
  breach (which must not be less than 30 days) and the breaching party has failed to cure such breach.

           b) Either party may immediately terminate this Agreement without liability upon written notice
  and without providing a cure period if the other party: (i) becomes insolvent, (ii) becomes a debtor in any
  bankruptcy or receivership proceeding or any similar action affecting the affairs or property of such party,
  (iii) makes a general assignment for the benefit of its creditors, or (iv) ceases its business operations.

          c) Customer shall have the right to terminate this Agreement in its entirety for cause at any time
  effective immediately upon the mailing of written notice to SMS Assist (which must set forth that the
  termination is for cause and specify the facts constituting cause) in the following situations: (i) improper or
  unethical business practices by SMS Assist that materially affect Customer; (ii) violation of any law,
  ordinance or regulation by SMS Assist that materially impacts Customer; or (iii) any other act or omission
  on the part of SMS Assist which causes material harm to Customer's business or reputation.

           d) Following October 1, 2023, Customer may give notice to SMS Assist of its intent to terminate
  this Agreement for any reason or no reason and specifying that the Agreement will terminate at least 90
  days from the date of such notice (no sooner than January 1, 2024). In the event that Customer gives such
  notice, then the Agreement will terminate as of the date specified in the notice. If Customer exercises this
  right to terminate, Customer shall pay a termination fee to SMS Assist in the amount of $15,000,000.00
  (“Termination Fee”) prior to the actual date of termination. The requirement to pay a Termination Fee shall
  not apply to a termination by Customer during the period from January 1, 2025 through December 31, 2025.

          e) Customer may terminate this Agreement in the event that Customer determines in its absolute
  and sole discretion that SMS Assist is performing in an unsatisfactory manner under this Agreement in
  any applicable service region (each a “Region”), also referred to by Customer as “market”, Customer shall
  notify SMS Assist in writing and specify the unsatisfactory performance and the applicable Region
  (“Regional Performance Notice”). SMS Assist must improve its performance within 60 days after the date
  of receiving the Regional Performance Notice (“Performance Improvement Period”). If SMS Assist fails
  to improve its performance to a satisfactory level in response to the Regional Performance Notice (in
  Customer's sole discretion) within the Performance Improvement Period, Customer shall have 30 days
  following the Performance Improvement Period to terminate this Agreement with respect to the applicable
  Region by providing 30 days’ written notice (“Regional Performance Termination Notice”) to SMS Assist.
  If Customer does not deliver a Regional Performance Termination Notice within such 30 day period, SMS
  Assist shall be deemed to have restored performance to a satisfactory level with respect to the applicable

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  Region.

           f) Customer may terminate the Agreement, with 30 days advance written notice to SMS Assist, if
  the following conditions are met: (a) Customer has sent a Regional Performance Notice for three (3) or
  more Regions, (b) the Regions where Customer has sent a Regional Performance Notice must comprise at
  least 25% of all of Customer’s Locations (as measured as of the day after the most recent Regional
  Performance Notice), (c) the unsatisfactory performance in each of the three (3) Regions remains uncured,
  and (d) SMS Assist has had at least 90 days to cure each Region.

          5.       ARBITRATION. All disputes arising out of or relating to this Agreement shall be resolved
  by binding arbitration administered by the JAMS under its JAMS Streamlined Arbitration Rules and
  Procedures then in effect in Cook County, Illinois, or if that entity is unavailable or declines, a similar
  impartial tribunal. The ruling or said tribunal shall be binding and non-appealable. Judgment upon an
  award rendered by the arbitrator may be entered in any court of competent jurisdiction. Nothing in this
  provision shall prohibit a party from seeking an injunction or order of specific performance in a court of
  competent jurisdiction to the extent that such equitable remedy may exist.

            6.        INSURANCE. SMS Assist represents and agrees that during the term of this Agreement
  SMS Assist shall carry, or cause to be carried, at its own expense: (a) full worker's compensation insurance
  providing the statutory benefits for each state in which SMS Assist and/or its contracted service providers
  performs work for Customer including Employer’s Liability coverage with minimum limits of $1,000,000
  or that statutory minimum, whichever is greater, per accident or employee illness for its employees, sub-
  contractors, affiliates, agents, or representatives performing Contracted Services under this Agreement; (b)
  commercial general liability coverage written on an occurrence form with a minimum limit of not less than
  $2,000,000 per occurrence for personal injury and property damage; (c) automobile liability coverage for
  all owned and non-owned vehicles, including rented and leased vehicles containing minimum limits per
  occurrence of $1,000,000 (d) fidelity or crime insurance coverage of its employees, sub-contractors,
  affiliates, agents, or representatives performing Contracted Services under this Agreement in the amount of
  $1,000,000 per occurrence with coverage to specifically include Customer’s assets via Client Property or
  3rd Party coverage extension; (e) umbrella liability coverage with a minimum limit of $50,000,000 per
  occurrence and in the aggregate on terms consistent with the commercial general liability insurance policy
  and including employer liability and automobile liability; and (f) Cyber liability coverage with a minimum
  limit of $20,000,000 per claim and in the aggregate that includes coverage for consequential or vicarious
  liabilities (e.g., claims brought against Customer due to the wrongful acts and omissions of SMS Assist or
  its Service Providers) and direct losses (e.g., claims made by Customer against SMS Assist for financial
  loss due to SMS Assist’s wrongful acts or omissions). SMS Assist will cover all costs incurred by the
  Customer to respond to the theft, loss, unauthorized disclosure or access to Company data, and all damages
  resulting from such incidents, including fines and penalties imposed upon the Customer, in each case only
  to the extent such costs are included in a claim covered under SMS Assist’s indemnification obligations in
  Section 7 and adjudicated in a settlement or judgment to be a loss under the terms of the policy. Coverage
  shall be maintained for the period of time in which SMS Assist (or its subcontractors) maintains, possesses,
  stores or has access to Customer data, or for a period of two years following the termination of this contract,
  whichever is greater.

           Customer shall be named as an Additional Insured or loss payee, as applicable, for each of the
  policies described in Section 6(b), (c), (d) and (e) on a primary and non-contributory basis. SMS Assist may
  meet the minimum coverage limits described in this Section 6 with any combination of primary and excess
  coverage. All liability policies must contain a waiver of subrogation against Customer, contain such
  provisions as Customer deems reasonably necessary or desirable to protect its interest including
  endorsements providing that (i) neither SMS Assist, Customer nor any other party shall be a co-insurer
  under said Policies, (ii) Customer shall receive at least thirty (30) days prior written notice of any

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  modification, reduction or cancellation, and (iii) for a deductible per loss of an amount not more than that
  which is customarily maintained by prudent owners of single family residential properties with a standard
  of operation and maintenance comparable to and in the general vicinity of the Locations.

          All insurance coverages required under this agreement shall be written with a company or
  companies having a minimum A.M. Best’s rating of “A-” with a financial size classification of “VII” as
  determined by the most recently published Best’s Key Rating Guide. Within a reasonable time after the
  execution of this Agreement, SMS Assist shall provide certificates of insurance evidencing the insurance
  required under this Agreement.

           7.       INDEMNIFICATION. SMS Assist shall indemnify, defend and hold the Customer
  harmless from and against any and all claims, damages, costs, liabilities and expenses (including reasonable
  attorney fees) arising out of or in connection with personal injury or property damage or any other claims
  or costs resulting from the negligence or willful misconduct of SMS Assist, its officers, agents, contractors,
  or representatives while performing the services set forth herein, or SMS Assist’s material breach of this
  Agreement, or SMS Assist’s failure to satisfy liens or other clouds on title filed by SMS Assist, its
  contractors and/or vendors, or violation of any applicable federal, state or local law by SMS Assist or the
  services provided hereunder.

          Customer agrees to indemnify, defend, and hold SMS Assist harmless from and against all claims,
  demands, actions and expenses (including reasonable attorney's fees) made or brought against SMS Assist,
  or such as it may pay or incur, as a result of Customer's negligence or willful misconduct, Customer’s
  material breach of this Agreement, or violation of any applicable federal, state or local law by Customer.

           Notwithstanding the foregoing, neither party shall be liable to the other for, and each party hereby
  waives any and all rights to claims against the other party, any special, indirect, incidental, consequential,
  punitive or exemplary damages in connection with this Agreement, including, but not limited to, lost
  revenue or profits, even if a party has knowledge of the possibility of such damages. Except for (i) either
  party’s indemnification obligations set forth above in this Section 7, (ii) a party’s obligation to make
  payment for Contracted Services (as described in Section 2), or (iii) a violation of Section 8, in no event
  shall either party’s liability hereunder exceed $1,000,000.00. The foregoing limitation shall in no way limit
  the reimbursement or coverage of claims covered by insurance.

          8.       CONFIDENTIAL INFORMATION.

           a) For the purposes of this Agreement, confidential information (“Confidential Information”) shall
  mean all proprietary, secret or confidential information, materials or data which are not generally known to
  the public and are identified at the time of disclosure, or would reasonably be understood by the receiving
  party, to be proprietary or confidential, and which the receiving party observes or learns in connection with
  this Agreement, including any information that may have been provided prior to the Effective Date of this
  Agreement.

           b) Customer and SMS Assist acknowledge that either party may disclose Confidential Information
  to the other party in connection with this Agreement. If a party receives Confidential Information it shall:
  (i) limit disclosure of Confidential Information to those of its employees, agents, or subcontractors that
  have a need to know such portion of the Confidential Information to accomplish the purposes contemplated
  by this Agreement; (ii) use at least the same degree of care in maintaining the secrecy of the Confidential
  Information as the receiving party uses in maintaining the secrecy of its own proprietary, secret or
  confidential information, but in no event less than a reasonable degree of care; (iii) use Confidential
  Information only to fulfill its obligations under this Agreement; (iv) return or destroy all documents, copies,
  notes or other materials containing any portion of the Confidential Information upon request by the

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  disclosing party; and (v) shall not reverse engineer, decompile, disassemble or otherwise attempt to discover
  any source codes, object codes, data, information, copyrights, trademarks, patents, inventions, trade secrets,
  or prototypes delivered to it by the other party or attempt to do so.

            c) The receiving party shall have no obligation concerning any portion of the Confidential
  Information which: (i) was known to the receiving party before disclosure of the Confidential Information;
  (ii) is lawfully obtained, directly or indirectly, by the receiving party from a third party and such third party
  is under no obligation of confidentiality; (iii) is or becomes publicly available other than as a result of an
  act or failure to act by the receiving party; or (iv) is required to be disclosed by applicable law or legal
  process.

          9.       INTELLECTUAL PROPERTY.

           a) Platform. SMS Assist’s facility and property management technology platform includes, but is
  not limited to SMS Assist’s proprietary online databases commonly referred to as “SMS One,” the
  Integrated Voice Recognition system, SMS Assist’s mobile applications, the Resident App defined in
  SOW2 – Exhibit A, map-layering technology, weather-layering technology, mobile embodiments of the
  platform, and all source code, object code, information, design, copyrights, trademarks, patents, inventions
  and trade secrets embodied therein (collectively, the “Platform”). Customer acknowledges and agrees that
  the Platform is Confidential Information subject to the terms of Section 8 of this Agreement. SMS Assist
  warrants to Customer no part of the Platform does or will infringe upon, misappropriate or violate any
  patent, copyright, trade secret or other right of a third party, and SMS Assist will indemnify, defend and
  hold Customer harmless from and against any loss, cost, liability or expense (including reasonable counsel
  fees) arising out of any breach or claimed breach of this warranty. SMS Assist warrants to Customer that
  the Platform and SMS Assist maintain adequate internal controls to ensure compliance with applicable
  statutes, ordinances, rules, regulations, orders or determinations of any governmental authority, including,
  but not limited to, federal, state and local data privacy laws, and covenants to maintain such controls and
  produce available SOC 1, SOC 2 or other reports reaonably requested by Customer during or after the term
  of Agreement.

          b) Grant of License. Subject to the terms and conditions of this Agreement, SMS Assist hereby
  grants to Customer a limited, nonexclusive, nontransferable license to access and use (and allow its
  Authorized Users, as defined below, to access and use) the Platform and its functionality in accordance
  with the SOW or SOWs. For purposes hereof, “Authorized Users” mean employees, representatives,
  residents, or designees of Customer who have been specifically granted authority by Customer (in
  accordance with Section 8 of this Agreement) to access the Platform, have agreed to abide by the terms of
  this Agreement, and have a need to access such information available on the Platform. Customer’s rights
  to access and use the Platform shall terminate automatically upon the termination of this Agreement for any
  reason.

           c) Transaction Data. The Platform will capture data and information regarding applicable
  transactions and services (“Transaction Data”). Such Transaction Data (other than aspects which are not
  Confidential Information) will be Customer’s information, and will be made available by SMS Assist to
  Customer in an archival database for at least sixty (60) days following the date created and following
  termination of this Agreement in a reasonable format established by SMS Assist and reasonably acceptable
  to Customer. In the event sixty (60) days is insufficient with regards to transition after termination of the
  Agreement, the parties shall agree on a reasonable amount of time to make the Transaction Data available.
  SMS Assist may retain and use the Transaction Data for: (i) the management of SMS Assist's billing of
  Customer; (ii) for purposes of maintaining the archival database for Customer as provided in the prior
  sentence; (iii) for SMS Assist’s legitimate business purposes, including to develop, use, aggregate and


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  distribute trend and experiential information; provided the information does not specifically identify the
  Customer; and (iv) for legal and compliance purposes.

           d) Prohibited Activities. Customer shall have no right to use the Platform, in whole or in part, for
  any purpose other than for the purpose of procuring and managing the Contract Services and for the
  purposes for which the Platform is intended. Without limiting the generality of the foregoing, Customer
  may not: (i) make the Platform available in any form to any person or entity who is not an Authorized User
  without the prior written consent of SMS Assist, except as permitted under this Agreement; (ii) rent,
  sublicense, sell or lease, directly or indirectly, the Platform or any portion of the Platform to any third party;
  and (iii) alter, modify, decompile, create derivative works, disassemble, or reverse engineer the Platform or
  any part of the Platform or the Platform’s source code, object codes, data, information, trade secrets, design
  elements, or programming, or attempt to do so. Notwithstanding anything to the contrary herein, the parties
  understand and agree that Customer intends to build a mobile resident application that focuses on the
  resident experience, including general property management activities, that will be utilized in conjunction
  with the Platform as a single resident experience, and, at some time in the future, Customer may design and
  utilize maintenance and service technology in its mobile resident application for use after termination or
  expiration of this Agreement; provided, however, Customer has no intention to, and shall not, violate the
  terms of Section 8(b) or this Section 9(d) in the design, development, implementation, or provision of any
  such application or related technology, and all components of the application and related technology shall
  be independently developed by Customer’s employees, agents, or subcontractors without reference to the
  Confidential Information disclosed by SMS Assist. The parties agree to work together to discuss the
  process for building and utilizing the mobile resident application to assure compliance with this Section
  and to provide the best experience for Customer’s residents.

           e) Proprietary Rights. SMS Assist retains all rights, title and interest in and to the Platform,
  including all source code, object code, data, information, copyrights, trademarks, patents, inventions and
  trade secrets embodied therein. Nothing in this Agreement constitutes a waiver of any of SMS Assist’s
  rights under the intellectual property laws of the United States or any other jurisdiction or under any other
  federal, state, or foreign laws. Any attempt to use, copy, or convey the Platform in a manner contrary to the
  terms of this Agreement or in competition with SMS Assist or in derogation of SMS Assist’s proprietary
  rights, whether such rights are stated herein or determined by law or otherwise, will result in this Agreement
  being subject to termination by SMS Assist without any applicable cure periods for Customer. SMS Assist
  shall have all rights and remedies available to it under applicable law, including without limitation, the right
  to immediate injunctive relief.

           f) Security. Customer and its Authorized Users may access the Platform only through use of one
  or more passwords, security devices or other access methods as provided by SMS Assist (collectively,
  “Access Methods”). Customer is solely responsible for ensuring that Customer’s Access Methods are kept
  confidential by Customer and its Authorized Users and only known to and used by Authorized Users.
  Customer acknowledges that, in SMS Assist’s sole discretion, SMS Assist may deny access to the Platform
  to any user of Customer’s Access Methods if SMS Assist has reason to believe that the Access Methods
  have been lost, stolen or compromised, such user is violating any of the terms of this Agreement or poses
  a threat to the Platform or any user thereof. Customer will be (A) solely responsible for all acts or omissions
  of any person using the Platform through Customer’s Access Methods; and (B) without limitation of the
  foregoing or any other provision of this Agreement, bound by the terms of any and all transactions executed
  and/or Work Orders placed via the Platform using Customer’s Access Methods. All transmissions and Work
  Orders generated by use of Customer’s Access Methods will be deemed to be authorized by Customer and
  made by an Authorized User. If any of Customer’s Access Methods have been lost, stolen or compromised,
  then Customer will promptly notify SMS Assist. Upon SMS Assist’s receipt of this notice, such Access
  Methods will be cancelled or suspended as soon as is reasonably practicable, but Customer is responsible
  for any actions taken through the use of such Access Methods prior to such cancellation.

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           g) PII Security. Customer owns and/or retains all rights in and to Personally Identifiable
  Information (“PII”) that Customer provides to SMS Assist. For the purposes of this Agreement, PII means
  any information that identifies or can be used to identify, contact, locate, or can be traced back to the specific
  person to whom such information pertains, or from which identification or contact information of an
  individual person can be derived regardless of the media in which it is contained. PII includes, without
  limitation, a person’s name, postal address, telephone number, fax number, e-mail address, financial profile,
  medical profile, social security number, and credit card information. SMS Assist will only access PII for
  the sole purpose of carrying out its obligations as expressly set forthi in this Agreement. SMS Assist shall
  (i) prevent the unauthorized use, dissemination, or publication of PII by the use of methods intended to
  keep PII strictly confidential in accordance with industry standards for information of such type, and (ii)
  take appropriate measures in accordance with industry standards for information of such type intended to
  secure and protect PII against unauthorized, unlawful or accidental access, disclosure, transfer, destruction,
  loss or alteration of PII by SMS Assist employees, agents, or contractors. SMS Assist will promptly notify
  Customer in writing of an actual breach of PII and take all reasonable steps to prevent, mitigate and rectify
  any such breach and cooperate fully with Customer in the event of any governement, regulatory or other
  enforcement or privacy proceeding relating to its PII handling practices.

            h) License of Trademarks. For the term of this Agreement, each party grants to the other party a
  revocable, non-exclusive license to use its trademarks in order to carry out the purposes and functions
  contemplated by this Agreement (which does not include marketing or advertising documents) or for any
  other purpose which the parties may agree upon in writing. A party will make reasonable efforts to use the
  trademarks in a manner consistent with the other party’s marketing standards. The licensing party may
  revoke the license if the other party uses the trademark in a manner inconsistent with those standards and
  fails to correct the usage within a reasonable amount of time following notice from the licensing party.

           10.      NON-SOLICITATION. During this Agreement, neither party shall, except with the
  express written agreement of the other party, directly or indirectly, alone or as an agent, independent
  contractor, partner, shareholder of or in any corporation, partnership, proprietorship, firm association,
  person or entity, (i) employ, retain or negotiate with respect to the employment or retention of, any person
  engaged as an employee of the other party at any time during the Term of the Agreement, or (ii) induce or
  influence or attempt to induce or influence, any person engaged as an employee of the other party at any
  time during the Term of the Agreement, to terminate his or her relationship with that party. Notwithstanding
  the foregoing, the parties agree that this Section 10 does not preclude either party from employing or hiring
  an employee of the other party, (i) as a result of a general published advertisement rather than a response
  to a direct solicitation, or (ii) following termination of the employee’s employment.

        11.     REBATES. SMS Assist will issue Customer a final quarterly (for the quarter ended
  December 31, 2020) rebate payment of $272,727.27 (“Quarterly Rebate”) in the form of a wire transfer by
  December 31, 2020. SMS Assist will have no obligation to issue Quarterly Rebates in 2021 or beyond.

           12.    VENDOR EFFICIENCIES. The parties agree to explore a program whereby SMS Assist
  would share in cost savings realized by Customer that were generated through the sole efforts of SMS
  Assist. Any efforts by SMS Assist to generate vendor price savings and qualify for a sharing in the achieved
  savings must be agreed upon in writing by Customer to ensure consistency of quality of (a) workmanship,
  (b) product and (c) Customer (and Customer’s residents’) experience.

           13.     LOCATIONS ON PLATFORM. Beginning January 1, 2023, Customer may take up to ten
  percent (10%) of its owned Locations off the Platform, provided that once a Location has been taken off-
  Platform, (1) Customer’s residents shall not have access to the Platform or any Platform Services with
  respect to the Location, including, but not limited to, the Call Center, mobile applications, and the One by

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  SMS AssistTM resident portal; (2) Customer will retain read-only access to property-level service data and
  history for all Locations via the One by SMS AssistTM customer portal, but will be restricted from creating
  new work orders for the off-Platform Location in the Call Center, mobile applications, and One by SMS
  AssistTM customer portal; (3) the Location will be counted towards the 10% cap, even if Customer later
  requests to add the Location back on the Platform; (4) SMS Assist shall have no responsibilities with respect
  to the Location while off-Platform; and (5) SMS Assist shall remain Customer’s exclusive provider of the
  Contracted Services at all on-Platform Locations. In the event that the term of the Agreement is extended
  in accordance with Section 3(b) herein, during the period from January 1, 2025 through December 31, 2025,
  Customer shall be entitled to remove Locations off the Platform at Customer’s sole discretion without
  penalty.

          14.      INDEPENDENT CONTRACTORS. Each party is an independent contractor in
  connection with this Agreement and neither party has authority to bind or commit the other in any
  contractual arrangement with any third party. Nothing herein shall be deemed or construed to create a joint
  venture, partnership or agency relationship between the parties for any purpose.

          15.     PRICING WARRANTY. During the Term of the Agreement, SMS Assist agrees to
  provide Customer with pricing that is more favorable than the pricing granted by SMS Assist to any
  comparable customer, excluding pricing for pilot agreements (which pilot agreements shall not last for a
  period in excess of 120 days from completion of the first maintenance service thereunder). For purposes
  of this pricing warranty, “comparable” means a residential customer that receives the same suite of
  Contracted Services and Platform Services from SMS Assist, and manages maintenance services at Single
  Family Residential rental properties using the Platform. SMS Assist shall review and have an officer of
  SMS Assist certify its compliance with this Section to Customer annually. This certification shall be sent
  to Customer’s address listed under the Notices section of this Agreement.

          16.     NOTICES. All notices, requests, demands and determinations under the Agreement (other
  than routine operational communications), shall be in writing and shall be deemed duly given: (a) when
  delivered personally (against a signed receipt); (b) on the designated day of delivery (other than a weekend
  or US Federal government holiday) after being timely given to an express overnight courier with a reliable
  system for tracking delivery; or (c) on the next business day when sent by confirmed facsimile with a copy
  sent by another means specified above, and addressed as follows:

                  In the case of Customer:
                  THR Property Management L.P.
                  1717Main Street, Suite 2000
                  Dallas, TX 75201
                  Attn: Mark Solls, Chief Legal Officer

                  With a copy to Ernie Freedman and Tim Lobner at the same address above.


                  In the case of SMS Assist:
                  SMS Assist, L.L.C.
                  875 N. Michigan Ave., Ste. 2800
                  Chicago, IL 60611
                  Attn: Jason Moos

                  With a copy to:
                  SMS Assist, L.L.C.
                  875 N. Michigan Ave., Ste. 2800


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                   Chicago, IL 60611
                   Attn: General Counsel
                   notices@sms-assist.com

          17.    ENTIRE AGREEMENT. This Agreement constitutes the entire understanding between
  SMS Assist and Customer, superseding and replacing any and all prior agreements between the parties
  hereto. No modification or amendment of this Agreement shall be effective unless reduced to writing and
  signed by Customer and an authorized officer of SMS Assist.

           18.     APPLICABLE LAW. This Agreement shall be governed by and construed in accordance
  with the internal law, and not the law of conflicts, of the State of Illinois. Except as otherwise described in
  Section 5, the parties hereto consent to sole jurisdiction of the courts of Cook County, Illinois or the U. S.
  Federal District Court for the Northern District of Illinois with respect to any disputes which may arise out
  of this Agreement and the parties will not object to such venue. THE PARTIES HEREBY WAIVE TRIAL
  BY JURY FOR ANY DISPUTE RELATING TO THIS AGREEMENT OR THE SERVICES PROVIDED
  HEREUNDER.

          19.     INVALIDITY. If any provision in this Agreement shall be held to be invalid, illegal or
  unenforceable in any respect, such invalid, illegal or unenforceable provision shall not affect any other
  provision hereof, and this Agreement shall be construed as if such invalid, illegal or unenforceable provision
  had never been contained herein.

          20.     NON-WAIVER. Continuation of the performance of this Agreement is not to be construed
  as a waiver of an alleged breach, and such continuation is done at all times with a reservation of all rights
  under this Agreement.

           21.     COUNTERPARTS. This Agreement may be executed in one or more counterparts, each
  of which shall be deemed an original, but all of which together shall constitute one and the same instrument.
  In addition, the parties agree that (i) an electronic signature shall be considered an original signature, and
  (ii) a complete copy of the Agreement shall be considered an original instrument, and each, together or
  separately, shall become binding and enforceable as if original and the parties may rely on the same to
  prove the authenticity of the Agreement.

           22.     ASSIGNMENT. This Agreement may not be assigned by either party without the written
  approval of the other party. Any attempted assignment by a party without such approval shall be void and
  of no force and effect. A change in ownership, control, or a change in operating officers shall not be deemed
  an assignment. This Agreement shall be binding upon and inure to the benefit of the successors and valid
  assigns of each party.

           23.      FORCE MAJEURE. Neither party will incur any liability to the other party resulting from
  any delay or failure to perform all or any part of this Agreement if such delay or failure is caused, in whole
  or in part, by events, occurrences, or forces beyond the reasonable control or without the negligence of such
  party.

          24.      AUDIT RIGHTS.

          a) Customer and its authorized representatives shall have the right to audit, to examine, and to
  make copies of or extracts from SMS Assist’s records (in whatever form they may be kept, whether written,
  electronic, or other) for the purposes of verifying the Contracted Services performed under this Agreement
  rendered hereunder or thereunder kept by or under the control of SMS Assist, including, but not limited to
  those kept by and between SMS Assist, its agents, affiliates, contractors, vendors, assigns, and successors,


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  such as SMS Assist’s agreements with vendors and contractors performing Contracted Services. SMS
  Assist shall, at all times during the term of this Agreement and for a period of seven years after the
  completion of such agreement, maintain such records, together with such supporting or underlying
  documents and materials, to the extent available and in SMS Assist’s or its representatives’ or advisors’
  possession. SMS Assist shall at any time reasonably requested by Customer, whether during or after
  completion of this Agreement make such records available for inspection and audit (including copies and
  extracts of records as required) by Customer. Such records shall be made available to Customer during
  normal business hours at SMS Assist’s office or place of business.

          b) SMS Assist will provide Customer with a semi-annual statement describing the total aggregate
  cash available to SMS Assist, including any cash available through a line of credit, which shall be signed
  by an officer of SMS Assist.

          25.     DATA PROCESSING ADDENDUM.                    The Addendum in Appendix 1 is hereby
  incorporated into this Agreement.

           26.     SURVIVAL. The provisions of Sections 5, 6, 7, 8, 9 and 18 of this Agreement shall survive
  the expiration or early termination of this Agreement, as well as any other provisions that, by their nature,
  are intended to survive termination of this Agreement.

  IN WITNESS WHEREOF, the parties, intending this Agreement to be effective on the Effective Date,
  have caused this Agreement to be executed by their duly authorized representatives.


    THR PROPERTY MANAGEMENT L.P.:                              SMS ASSIST, L.L.C.:


    Signature:                                                 Signature:

    Name:                                                      Name:

    Title:                                                     Title:

    Date:                                                      Date:



                                 [Appendix 1 and Statements of Work follow]




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                                               Appendix 1
                                 DATA PROCESSING ADDENDUM TO
                                  MASTER SERVICES AGREEMENT

  This Addendum (the “Addendum”) to the Master Services Agreement dated January 1, 2021 (the
  “Agreement”) between THR Property Management L.P. (“Customer”) and SMS Assist, L.L.C. (“SMS
  Assist”) is effective the first day of January 2020.

                                                 RECITALS

           WHEREAS, SMS Assist provides certain residential home facility services and related technology
  and call center services (collectively, the “Services”) to Customer pursuant to the Agreement;

          WHEREAS, SMS Assist receives from Customer, or creates or receives on its behalf, Personal
  Data (as defined below) concerning California Consumers;

         WHEREAS, the California Consumer Privacy Act (“CCPA” or the “Act”), codified at Cal. Civ.
  Code §1798.100 et seq., imposes on Customer certain obligations with respect to Personal Data;

         WHEREAS, Customer seeks to amend the Agreement to ensure that SMS Assist will process
  Personal Data consistent with Customer’s obligations under the Act;

         NOW THEREFORE, for good and valuable consideration, the sufficiency of which hereby is
  acknowledged, the parties agree to amend the Agreement as follows:

                                                ADDENDUM

          The terms used in this Addendum shall have the meanings set forth in this Addendum. Capitalized
  terms not otherwise defined herein shall have the meaning given to them in the Agreement.

     1. Definitions. In this Addendum, the following terms shall have the meanings set out below and
        cognate terms shall be construed accordingly:
           a. “Applicable Laws” means (a) the CCPA and (b) any other applicable law with respect to
                any Personal Data in respect of which Customer is subject, in each case only to the extent
                applicable to SMS Assist or as required under this Addendum;
           b. “CCPA Consumer” means any natural person residing in California;
           c. “Delete” means to remove or obliterate Personal Data such that it cannot be recovered or
                reconstructed; and
           d. “Personal Data” means any information that identifies, relates to, describes, is capable of
                being associated with, or could reasonably be linked, directly or indirectly, with a particular
                CCPA Consumer or household received from the Customer or processed by SMS Assist
                on behalf of the Customer pursuant to or in connection with the Agreement.

     2. Status of the Parties. In respect of the parties’ rights and obligations under this Addendum
        regarding the Personal Data, SMS Assist agrees that it shall process all Personal Data in accordance
        with its obligations pursuant to this Addendum.

     3. Processing of Personal Data. With respect to all Personal Data, SMS Assist represents and
        warrants that it is a for-profit legal entity and that it:
           a. shall comply and shall ensure compliance by its personnel with all Applicable Laws;

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             b. shall only process Personal Data on behalf of the Customer in order to provide the Services
                described in the Agreement and this Addendum;
             c. shall not retain, use, or further disclose Personal Data provided by the Customer for its own
                commercial purpose or for any purpose outside of the direct business relationship with the
                Customer or other than the business purpose covered by the Agreement;
             d. shall not sell, disclose, share or provide access to the Personal Data provided by the
                Customer for monetary or other valuable consideration;
             e. shall not further collect Personal Data about the CCPA Consumer except as necessary to
                perform the Services under the Agreement; and
             f. is receiving Personal Data because it is necessary for SMS Assist to perform the following
                business purpose:
                       1. Performing services on behalf of the Customer, including without limitation
                          maintaining or servicing accounts, providing customer service, processing or
                          fulfilling orders and transactions, verifying customer information, providing
                          analytic services, or providing similar services on behalf of the Customer.

     4. SMS Assist and SMS Assist Personnel. SMS Assist shall take reasonable steps to ensure the
        reliability of any of its employees, agents or contractors who may have access to the Personal Data,
        ensuring in each case that access is strictly limited to those individuals who need to know or access
        the relevant Personal Data, as strictly necessary for the purposes of the Agreement, and to comply
        with Applicable Laws in the context of that individual’s duties, ensuring that all such individuals
        are appropriately trained and are subject to confidentiality undertakings or professional or statutory
        obligations of confidentiality.

     5. Security. SMS Assist shall implement and maintain reasonable technical, physical and
        organizational measures appropriate to the nature of the information, to protect the Personal Data
        from unauthorized access, destruction, use, modification, or disclosure.

     6. CCPA Consumer Rights. SMS Assist shall implement appropriate technical and organizational
        measures and cooperate with the Customer in the fulfilment of the Customer’s obligations, as
        reasonably understood by Customer, to respond to requests by CCPA Consumers for disclosure of
        information or information practices and for deletion of personal information as permitted by the
        CCPA.

     7. SMS Assist Responsibility. SMS Assist shall be solely responsible for any and all obligations to
        report or inform CCPA Consumers of any personal data breach affecting Personal Data in SMS
        Assist’s custody or control. Notwithstanding the foregoing, SMS Assist shall have no obligation
        with respect to any personal data breach affecting Personal Data in SMS Assist’s custody or control
        to the extent the breach was caused by the negligence or willful misconduct of an Authorized User
        of Customer or arose through Customer’s (or an Authorized User’s) failure to maintain the
        confidentiality of an Authorized User’s Access Methods. SMS Assist shall be responsible for any
        and all of its violations of the CCPA.

     8. Deletion or Return of Personal Data. Subject to Sections 8(a) and 8(b), SMS Assist shall
        promptly and in any event within ten (10) days of the date of (i) a Customer request for deletion of
        Personal Data about a CCPA Consumer who has made demand on the Customer for deletion, or
        (ii) the termination of the Agreement or any Services involving the processing of Personal Data
        pursuant thereto (either, a “Deletion Event”) Delete and procure the deletion of all copies of
        applicable Personal Data received from Customer.
             a. SMS Assist may retain Personal Data to the extent permitted by the Agreement and the
                  CCPA and only to the extent and for such period as required by Applicable Laws and

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                   always provided that SMS Assist shall ensure the confidentiality of all such Personal Data
                   and shall ensure that such Personal Data is only processed as necessary for the purpose(s)
                   specified in the Agreement or the Applicable Laws.
                b. SMS Assist shall provide written certification to Customer that it has fully complied with
                   this Section 8 within fifteen (15) days of the Deletion Event.

        9. Certification
              a. SMS Assist certifies that it understands its obligations and the restrictions on its use of the
                   Personal Data received from the Customer under this Addendum and agrees to adhere to
                   such obligations and restrictions.

        10. General
               a. Nothing in this Addendum reduces SMS Assist’s obligations under the Agreement in
                  relation to the protection of Personal Data or permits SMS Assist to process (or permit the
                  processing of) Personal Data in a manner that is prohibited by the Agreement. In the event
                  of any conflict or inconsistency between this Addendum and Agreement, this Addendum
                  shall prevail.
               b. Should any provision of this Addendum be invalid or unenforceable, then the remainder of
                  this Addendum shall remain valid and in force. The invalid or unenforceable provision
                  shall be either (i) amended as necessary to ensure its validity and enforceability, while
                  preserving the parties’ intentions as closely as possible or, if this is not possible, (ii)
                  construed in a manner as if the invalid or unenforceable part had never been contained
                  therein.
               c. Except as set forth herein, the terms and conditions of the Agreement will remain in full
                  force and effect; provided however, that if any term or condition of the Agreement conflicts
                  with or is inconsistent with any term or condition of this Addendum, the terms and
                  conditions of this Addendum will be controlling.


  IN WITNESS WHEREOF, and intending to be legally bound, the parties affix their signatures hereto.


  THR PROPERTY MANAGEMENT L.P.                                SMS ASSIST, L.L.C.

  By:                                                         By:

  Name:                                                       Name:

  Title: ________________________                             Title: ________________________

  Dated: __________________, 2020                             Dated: _________________, 2020




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                                              SOW1
                                      Statement of Work 1 for
                                         Reactive Services
           This Statement of Work for Reactive Services (this “SOW1”) is entered into as of January 1, 2021,
  by and between THR PROPERTY MANAGEMENT L.P. and SMS ASSIST, L.L.C. This SOW1 is hereby
  incorporated by reference and made a part of the Master Services Agreement effective January 1, 2021 by
  and between Customer and SMS Assist. Except as otherwise defined in this SOW1, all capitalized terms
  used in this SOW1 shall have the same meanings assigned to them in the Agreement.

  1.      Scope of Services. SMS Assist shall provide Customer with the Contracted Services as requested
  by the Customer and as set forth on SOW1 - Exhibit A attached to and made a part of the Agreement
  (“Reactive Services”).

  2.      Services and Service Providers. SMS Assist shall use independent contractors to provide the
  Contracted Services as directed by SMS Assist (“Service Providers”) and Service Providers shall follow
  the processes and procedures as outlined in this SOW1 which are applicable to such Service Provider.

  3.      Pricing Terms and Locations. The terms and conditions described in SOW1 - Exhibit B shall
  apply for the duration of this Agreement.

  4.      Locations. In accordance with Section 3 above, SMS Assist shall provide the Reactive Services
  at the Locations listed on SOW1 - Exhibit B.

  5.      Payment Terms, Fees, Expense and Taxes. SMS Assist agrees to provide billing in accordance
  with Section 2 “Price and Payment Terms” of the Agreement.

  IN WITNESS WHERE OF, the parties hereto have caused this SOW1 to be duly executed the day and
  year first above written.


   THR PROPERTY MANAGEMENT L.P.:                            SMS ASSIST, L.L.C.:


   Signature:                                                Signature:

   Name:                                                     Name:

   Title:                                                    Title:

   Date:                                                     Date:




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                                           SOW1 - Exhibit A
                                           Scope of Services
  1.   Scope of Contract Services. SMS Assist shall perform the following Reactive Services for
       Locations that the Customer has designated in accordance with this SOW1:

               Service Category                                          General Notes
                                                 Repair/replace exterior/interior doors, windows and siding,
                                                 repair/replace locks/door hardware, storm shutter installation
              Doors/Windows/Siding               Glass Replacements / Board Ups
                                                 Window covering repairs/replacements
                                                 Emergency Repairs
                                                 Repair/replace breakers
                                                 Wiring repairs
                                                 Run new circuits, replace switches
                Electrical / Lighting            Run wiring and install new outlets and fixtures
                                                 Outages
                                                 Emergency Repairs
                                                 Leaks / Flooding / Blockages
                                                 New lines and fixture installations
                                                 Hot Water Heater repairs/replacements
                                                 Septic Pumping / Replacement
                   Plumbing
                                                 Toilet stoppages
                                                 Drain line stoppages, leaks
                                                 Leaking fixtures and faucets interior
                                                 Emergency Repairs
                                                 Flooring
                                                 Carpentry / Drywall
                                                 Ceiling Repairs
                                                 Patch & Paint, Touchups
            General Building / Carpentry         Exterior Repairs, Gates, Fencing
                                                 Cabinet/Countertop repairs/replacements
                                                 Roof Repairs / Full Replacements
                                                 General Maintenance
                                                 Emergency Repairs
                                                 Repair
                                                 Replacement / New Installation
            Air Conditioning & Heating           Ductwork repair/install
                                                 Preventative maintenance
                                                 Emergency Repair
             Appliances (Kitchen Hoods,          Repair
       Refrigerators, Dishwasher, Range/Oven,    Replacement / New Installation
           Garbage Disposal, Microwave)          Emergency Repairs
                                                 Repair Doors & Garage Openers
               Garage / Garage Door              Spring Replacement
                                                 Emergency Repairs
                                                 Pool Maintenance
                       Pools
                                                 Pool Repair


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                         Other                       Other repair and maintenance issues



  2.    Operations.
  a)      Work Order Report. SMS Assist will submit, track, and reconcile all Work Orders through the
  Platform. The Work Order Report will contain the following:
         i.     Location ID number, if any
        ii.     Location Address
       iii.     Detailed description of work performed
       iv.      Price of the Work Order including any NTE approvals
        v.      Status of the Work Order
  SMS Assist will work in good faith with Customer using commercially reasonable efforts to arrive at Work
  Order resolution codes by the end of 2021.
  b)       Field Communications. SMS Assist shall communicate service information and schedules to the
  Customer field personnel via the Platform. The Platform will provide Customer with updates as to the
  status of the Work Order and any scheduled times for the performance of Contracted Services.
  c)       Confirmation. SMS Assist will confirm all Work Orders performed by Service Providers through
  the Platform.
  d)      Work Order Tracking. SMS Assist shall track Work Orders according to the following standards:
         i.     Completion Time. Completion time is defined as the point in time when the work is actually
                completed and the status is changed to “Work Complete/Pending Invoice” in SMS Assist’s
                Platform.
        ii.     Response Time. Response time is defined as the point in time when SMS Assist acknowledges
                receipt of a Work Order, and changes the status of the work order from “Pending Acceptance”
                to “Scheduled” in SMS Assist’s Platform.
       iii.     Work Request Priority. There are four (4) types of work requests. The following time frames
                (measured in calendar days and on a 24/7 clock) shall apply to the expected responses for the
                work requests:
                            Critical – 4 hours
                            Emergency – 24 hours
                            Urgent – 72 hours
                            Routine / Standard – 7-14 days
       iv.      Reporting. SMS Assist will provide reporting reflecting work performance levels, work
                volume, response times, specific detail associated with work completion and invoicing.
  e)       NTE Approval Process. If additional authorization and/or materials are required to complete
  repairs or to mitigate an emergency (e.g. permanent repairs following mitigation of an emergency issue,
  NTE approvals, or specialty parts that are not readily available, etc.) SMS Assist may place the Work
  Order on hold and provide a new estimated “Completion Time” based on the anticipated time required to
  gain appropriate authorizations and/or to source the correct repair materials and complete the required
  repairs.
  f)         NTE Limits. SMS Assist and Customer shall agree upon initial NTEs for the Contracted Services.

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  Customer may change the NTE limits from time to time in Customer’s sole discretion. The agreed upon
  NTE limit will be described in the attached Exhibit A-1 and any services exceeding the agreed upon NTE
  limits (as expressed in U.S. Dollars) will follow the quote process defined in section 2(g) below. Customer
  may modify the NTE limits set forth in Exhibit A-1 by communication in writing.
  g)      Quotes. In the event that a Work Order will exceed the NTE limit, SMS Assist shall use
  commercially reasonably efforts to obtain a quote for such services within 48 hours following Service
  Provider’s original visit to the Location. For Work Orders categorized as “Critical” and “Emergency” and
  flagged as a habitability issue, SMS Assist shall use commercially reasonable efforts to obtain a quote for
  such services within 4 hours and 24 hours, respectively. SMS Assist will provide the quoted dollar amount
  to Customer and Customer will approve or reject the quoted amount. In the event that Customer approves
  the quoted amount for a Work Order, such approved amount shall become the NTE for such Work Order
  and SMS Assist shall obtain approval before exceeding the new NTE limit. SMS Assist will not be
  responsible for performing any work under the applicable Work Order unless Customer has approved the
  NTE limit increase.

  h)      Work Order Management/Platform Services. In order to facilitate the management of the Contract
  Services, SMS Assist shall provide the following Platform Services to manage Work Orders for all Contract
  Services performed on behalf of Customer. SMS Assist shall provide a call center staffed to support and
  respond to Customer’s reasonable needs regarding the Contract Services 24 hours a day, 7 days a week,
  365 days a year. SMS Assist will manage inbound phone calls from Customer’s residents for both new and
  existing Work Orders, including, but not limited to, managing the dispatching process of assigning Work
  Orders to Service Providers, managing the Work Orders assigned to Service Providers to ensure
  completion, managing the performance of Service Providers, and determining which Service Providers
  receive work. SMS Assist will track and report on the status of all Work Orders for the Contract Services
  through the Platform.

  i)       Platform Availability. Subject to the terms and conditions of this Agreement, SMS Assist will make
  the Platform available at 99.50% of the time over the Measurement Period, excluding unavailability as a
  result of any of the Exceptions described below in this Section 2(i) (the “Availability Requirement”).

              “Platform Service Level Failure” means a material failure of the Platform to meet the
              Availability Requirement. “Available” means the Platform is available for access and use by
              Customer and its Authorized Users over the internet (including for use associated with the
              mobile resident application). The following are “Exceptions” to the calculation of the
              Availability Requirement, and neither the Platform will be considered un-Available nor any
              Platform Service Level Failure be deemed to occur in connection with any failure to meet the
              Availability Requirement or impaired ability of Customer or its Authorized Users to access or
              use the Platform that is due, in whole or in part, to any: (i) act or omission by Customer or any
              Authorized User which results in the Platform being used in a manner that does not strictly
              comply with this Agreement; (ii) Customer’s or its Authorized User's internet connectivity
              (including for use associated with the mobile resident application) ; (iii) failure, interruption,
              outage or other problem with any software, hardware, system, network, facility or other matter
              not supplied or not hosted by SMS Assist or its contractors; or (iv) Scheduled Downtime (as
              defined below).

              SMS Assist will use its best efforts to: (i) schedule downtime for routine maintenance of the
              Platform between the hours of 12 a.m. and 6 a.m., Eastern Standard Time; and (ii) give
              Customer at least twenty-four (24) hours prior notice of all scheduled outages of the Platform
              (“Scheduled Downtime”).



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           SLA Credit. Customer may be entitled to a reasonable monetary adjustment to reflect a failure
           to meet the SLA (a “SLA Credit”) as set forth below. SLAs shall be calculated and provided to
           Customer within thirty (30) days after the end of a Measurement Period. Customer shall have
           ten (10) days to review and approve the calculation.

           SLA Failure Remedy. The payment of the SLA Credit as described herein shall be Customer’s
           sole remedy with respect to SMS Assist’s failure to meet any SLA and shall constitute a cure
           for SMS Assist’s failure to meet such SLA for the Measurement Period. This remedy only
           applies to the SLAs and nothing in this Section is intended to affect either Party’s other rights
           or obligations under the Agreement. For avoidance of doubt, the Parties agree that SLA failures
           may be cited as evidence of unsatisfactory performance under Section 4(e) and payment of an
           SLA Credit shall not be deemed a cure for the purposes of
           Section 4(e).

           The “Measurement Period” shall be each three (3) month (quarter) period during the term of
           this Agreement.

           “Pass/Fail” shall be determined as follows: If average result for the quarter is greater than or
           equal to the Availability Requirement, then Pass. If average result for the quarter is less than
           Availability Requirement, but at least 2 of the months within the quarter have an average result
           greater than or equal to the Availability Requirement, then Pass. SMS Assist shall report to
           Customer on the Pass/Fail attained related to the Availability Requirement on a quarterly basis
           within ten (10) days following the end of every quarter during the term of the Agreement.

           The “SLA Credit” shall be $10,000 per Measurement Period to be paid within 30 days
           following the end of the Measurement Period.




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                                               Exhibit A-1
                                               NTE Limits
                                                                                         Afterhours
Service Category       Service Type                  Problem Code              NTE       NTEs
Air
Conditioning/Heating   Swamp Cooler                  Leaking                   $300.00         $600.00
Air
Conditioning/Heating   Temporary Units               Cooling                   $200.00         $400.00
Air
Conditioning/Heating   Thermostat                    Physical Damage           $300.00         $600.00
Air
Conditioning/Heating   Thermostat                    Programming Help Needed     $0.00                n/a
Air
Conditioning/Heating   Thermostat                    Smart Thermostat          $200.00         $400.00
Air
Conditioning/Heating   Unit                          Airflow Issue             $300.00         $600.00
Air
Conditioning/Heating   Unit                          Gas Smell                 $300.00         $600.00
Air
Conditioning/Heating   Unit                          Leaking Water             $300.00         $600.00
Air
Conditioning/Heating   Unit                          Making Noise              $300.00         $600.00
Air
Conditioning/Heating   Unit                          Vandalism                 $300.00         $600.00
Air
Conditioning/Heating   Unit                          Not Heating               $300.00         $600.00
Air
Conditioning/Heating   Unit                          Not Cooling               $300.00         $600.00
Appliances             Cooktop                       Gas Smell                 $200.00         $400.00
Appliances             Cooktop                       Not Working               $200.00         $400.00
Appliances             Dishwasher                    Not Working               $200.00             n/a
Appliances             Dryer                         Broken or Damaged         $200.00             n/a
Appliances             Dryer                         Dryer Vent                $200.00             n/a
Appliances             Dryer                         Making Noise              $200.00             n/a
Appliances             Dryer                         Not Working Properly      $200.00             n/a
Appliances             Microwave                     Not Working               $200.00         $400.00
Appliances             Range/Oven                    Broken or Damaged         $200.00         $400.00
Appliances             Range/Oven                    Gas Smell                 $200.00         $400.00
Appliances             Range/Oven                    Not Working               $200.00         $400.00
Appliances             Refrigerator                  Freezer Not Working       $200.00         $400.00
Appliances             Refrigerator                  Ice Maker Not Working     $200.00             n/a
Appliances             Refrigerator                  Not Working               $200.00         $400.00
Appliances             Vent Hood                     Not Working               $200.00         $400.00
Appliances             Wall Oven                     Broken or Damaged         $200.00         $400.00
Appliances             Wall Oven                     Not Working               $200.00         $400.00
Appliances             Washer                        Broken or Damaged         $200.00             n/a
Appliances             Washer                        Leaking                   $200.00             n/a
Appliances             Washer                        Not Working Properly      $200.00             n/a
Cabinets/Countertops   Cabinets                      Broken or Damaged         $250.00             n/a
Cabinets/Countertops   Cabinets                      Cracked or Peeling        $250.00             n/a
Cabinets/Countertops   Countertops                   Broken or Damaged         $250.00             n/a
Cabinets/Countertops   Countertops                   Cracked or Peeling        $250.00             n/a
Doors/Windows/Siding   Exterior - Door Locks         Lost Key/Locked Out       $250.00         $500.00


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Doors/Windows/Siding   Exterior - Door Locks             Not Working Properly             $250.00   $500.00
Doors/Windows/Siding   Exterior - Doors                  Broken or Damaged                $250.00   $500.00
                                                         Door Adjustment or Weather
Doors/Windows/Siding   Exterior - Doors                  Stripping                        $250.00   $500.00
Doors/Windows/Siding   Interior - Doors                  Broken or Damaged                $250.00       n/a
Doors/Windows/Siding   Siding                            Damaged                          $250.00   $500.00
Doors/Windows/Siding   Windows                           Frame Issue or Leak              $250.00   $500.00
Doors/Windows/Siding   Windows                           Glass Broken or Damaged          $250.00   $500.00
Doors/Windows/Siding   Windows                           Latch or Hardware Issue          $250.00   $500.00
Doors/Windows/Siding   Windows                           Screens                          $250.00   $500.00
Electrical/Lighting    Bathroom Fan                      Fan Not Working                  $250.00   $500.00
Electrical/Lighting    Bathroom Fan                      Light Not Working                $250.00   $500.00
Electrical/Lighting    Ceiling Fan                       Fan Balancing                    $250.00   $500.00
Electrical/Lighting    Ceiling Fan                       Fan Not Working                  $250.00   $500.00
Electrical/Lighting    Exterior Lighting                 Not Working, Broken or Damaged   $250.00       n/a
Electrical/Lighting    Interior Lighting                 Not Working, Broken or Damaged   $250.00       n/a
Electrical/Lighting    Outlet                            Loose or Damaged                 $250.00   $500.00
Electrical/Lighting    Outlet                            Not Working                      $250.00   $500.00
Electrical/Lighting    Outlet                            Smoking or Sparking              $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Detached or Damaged              $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Failed Test                      $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Periodically Chirping            $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Sounding Alert                   $250.00   $500.00
Electrical/Lighting    Wiring                            Breaker                          $250.00   $500.00
Electrical/Lighting    Wiring                            Burning Smell                    $250.00   $500.00
Electrical/Lighting    Wiring                            Exposed Wires                    $250.00   $500.00
Flooring               Carpet                            Damaged                          $250.00       n/a
Flooring               Carpet                            Pulling Up                       $250.00       n/a
Flooring               Stairs/Stair Railing              Broken or Damaged                $250.00       n/a
Flooring               Tile                              Cracked Tile                     $250.00       n/a
Flooring               Tile                              Grout Issue                      $250.00       n/a
Flooring               Vertical Tile (Bath/Kitchen)      Cracked Tile                     $250.00       n/a
Flooring               Vinyl                             Damaged/Torn                     $250.00       n/a
Flooring               Vinyl                             Peeling Up/Separating            $250.00       n/a
Flooring               Wood Laminate                     Damaged                          $250.00       n/a
Garage/Garage Door     Door/Opener                       Missing Remote                   $150.00   $300.00
Garage/Garage Door     Door/Opener                       Not Working, Broken or Damaged   $250.00   $500.00
Garage/Garage Door     Door/Opener                       Spring Issue                     $250.00   $500.00
General Maintenance    Bath Accessories                  Broken or Damaged                $250.00   $500.00
General Maintenance    Cleaning                          Maid Service Needed              $150.00   $300.00
General Maintenance    Cleaning                          Power Washing                    $150.00       n/a
General Maintenance    Discoloration                     Wall/Ceiling Stains or Spots     $250.00   $500.00
General Maintenance    Fireplace                         Chimney Sweep Needed             $250.00       n/a
General Maintenance    Fireplace                         Not Working                      $250.00   $500.00
General Maintenance    Interior - Trim/Baseboard         Broken or Damaged                $250.00   $500.00
General Maintenance    Stairs/Stair Railing              Damaged or Missing               $250.00   $500.00
General Maintenance    Structural                        Exterior Deck                    $250.00   $500.00
General Maintenance    Structural                        Foundation                       $250.00   $500.00
General Maintenance    Structural                        Framing                          $250.00   $500.00
General Maintenance    Structural                        Roof Truss                       $250.00   $500.00
General Maintenance    Structural                        Sub Floor                        $250.00   $500.00
General Maintenance    Vandalism                         Property Damage                  $250.00   $500.00
General Maintenance    Vandalism                         Stolen                           $250.00   $500.00
General Maintenance    Walls/Ceiling                     Damaged, Missing or Wet          $250.00   $500.00


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General Maintenance     Water Extraction                    Dryout                               $250.00   $500.00
Landscape/Irrigation    Irrigation                          Leaking Water/Broken Line            $250.00   $500.00
Landscape/Irrigation    Irrigation                          Sprinkler not working properly       $250.00   $500.00
Landscape/Irrigation    Irrigation                          Timer Not Working                    $150.00       n/a
Landscape/Irrigation    Trees/Plants                        Grass/Lawn                           $200.00       n/a
Landscape/Irrigation    Trees/Plants                        Tree Removal Needed                  $250.00   $500.00
Landscape/Irrigation    Trees/Plants                        Tree Trimming Needed                 $250.00   $500.00
Landscape/Irrigation    Trees/Plants                        Weed removal                         $150.00   $300.00
Masonry/Fencing/Gates   Brick/Concrete                      Driveway/Patio/Sidewalk              $250.00   $500.00
Masonry/Fencing/Gates   Brick/Concrete                      Floor lifted or cracked              $250.00   $500.00
Masonry/Fencing/Gates   Brick/Concrete                      Walls - Cracked, Broken or Damaged   $250.00   $500.00
Masonry/Fencing/Gates   Fencing                             Broken or Damaged                    $250.00       n/a
Masonry/Fencing/Gates   Fencing                             Missing Slats                        $250.00       n/a
Masonry/Fencing/Gates   Gates                               Broken or Damaged                    $250.00       n/a
Masonry/Fencing/Gates   Mailbox                             Missing, Broken or Damaged           $250.00       n/a
Masonry/Fencing/Gates   Shutters                            Missing, Broken or Damaged           $250.00       n/a
Paint                   Drywall                             Hole                                 $250.00       n/a
Paint                   Exterior                            Cracking or Peeling                  $250.00       n/a
Paint                   Interior                            Cracking or Peeling                  $250.00       n/a
Pest Control            Ants/Small Pests                    Treatment Needed                     $150.00       n/a
Pest Control            Bed Bugs                            Treatment Needed                     $150.00       n/a
Pest Control            Birds, Bats, Racoons & Squirrels    Trapping Needed                      $150.00       n/a
Pest Control            Gophers                             Trapping Needed                      $150.00       n/a
Pest Control            Rodents/Large Pests                 Trapping Needed                      $150.00       n/a
Pest Control            Snakes, Lizards & Other Pests       Trapping Needed                      $150.00       n/a
Pest Control            Termites/Wood Destroying Pests      Treatment Needed                     $150.00   $300.00
Pest Control            Wasps/Bees                          Treatment Needed                     $150.00       n/a
Plumbing                Backflow test                       Test                                 $250.00       n/a
Plumbing                Exterior Lines/Fixtures             Broken/Leaky Pipe or Faucet          $250.00   $500.00
Plumbing                Garbage Disposal                    Not Working, Broken or Damaged       $200.00       n/a
Plumbing                Gas Lines                           Repair                               $250.00   $500.00
Plumbing                Glass Enclosure/Shower Door         Broken or Damaged                    $250.00   $500.00
Plumbing                Glass Enclosure/Shower Door         Finish/Surface                       $250.00   $500.00
Plumbing                Glass Enclosure/Shower Door         Leaking                              $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Faucet Broken or Leaking             $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Flooding/Sewer Backup                $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Pipes Broken or Leaking              $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Shower Valve/Head                    $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Slow or Clogged Drain                $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Sump Pump Not Working                $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Tub/Tub Surround/Shower Leaking      $250.00   $500.00
Plumbing                Septic System                       Preventive Maintenance               $250.00   $500.00
Plumbing                Toilet                              Backing Up/Overflowing               $250.00   $500.00
Plumbing                Toilet                              Leaking/Running Constantly           $250.00   $500.00
                        Tub/Tub Surround/Shower
Plumbing                Surface/Sink                        Broken or Damaged                    $250.00   $500.00
                        Tub/Tub Surround/Shower
Plumbing                Surface/Sink                        Finish/Surface                       $250.00   $500.00
                        Tub/Tub Surround/Shower
Plumbing                Surface/Sink                        Leaking                              $250.00   $500.00
Plumbing                Water Heater                        Leaking                              $250.00   $500.00
Plumbing                Water Heater                        Not Heating/Working Properly         $250.00   $500.00
Pool/Spa                Equipment                           Auto-Fill                            $100.00       n/a
Pool/Spa                Equipment                           Automatic Vacuum                     $100.00       n/a


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Pool/Spa        Equipment               Broken or Damaged                  $100.00       n/a
Pool/Spa        Equipment               Filter                             $100.00       n/a
Pool/Spa        Equipment               Light                              $100.00       n/a
Pool/Spa        Equipment               Not Cleaning Properly              $100.00       n/a
Pool/Spa        Equipment               Plaster Issue                      $100.00       n/a
Pool/Spa        Equipment               Pool Deck                          $100.00   $200.00
Pool/Spa        Equipment               Pool/Spa Heater                    $100.00       n/a
Pool/Spa        Equipment               Pump                               $100.00       n/a
Pool/Spa        Equipment               Skimmer                            $100.00       n/a
Pool/Spa        Fencing/Gate/Locks      Not Working, Broken or Damaged     $100.00       n/a
Pool/Spa        Fencing/Gate/Locks      Unable to Secure                   $100.00       n/a
Pool/Spa        Leak Detection          Bucket Test                        $100.00       n/a
Pool/Spa        Leak Detection          Leak Repair                        $100.00       n/a
Pool/Spa        Leak Detection          Possible Leak                      $250.00       n/a
Pool/Spa        Plaster Issue           Backfill                           $100.00       n/a
Pool/Spa        Plaster Issue           Cracked or Chipping                $100.00       n/a
Pool/Spa        Plaster Issue           Re-Plaster                         $100.00       n/a
Pool/Spa        Plaster Issue           Stained                            $100.00       n/a
Pool/Spa        Pool Screens            Broken, damaged or missing         $100.00       n/a
Pool/Spa        Service                 Green to Clean                     $100.00       n/a
Pool/Spa        Service                 Routine Service Needed             $100.00       n/a
Roof            Gutters                 Clogged Gutters                    $250.00   $500.00
Roof            Gutters                 Damaged                            $250.00   $500.00
Roof            Roofing Material        Interior Leaking                   $250.00   $500.00
Roof            Roofing Material        Wind Damage                        $250.00   $500.00
Violations      City                    Architectural Issue                $250.00       n/a
Violations      City                    Code Issue                         $250.00       n/a
Violations      City                    Cosmetic Issue                     $250.00       n/a
Violations      City                    Health & Safety Issue              $250.00       n/a
Violations      City                    Landscaping Enhancement Needed     $250.00       n/a
Violations      City                    Landscaping Service Needed/Weeds   $250.00       n/a
Violations      City                    Municipal Inspection               $250.00       n/a
Violations      City                    Notice of Hearing                  $250.00       n/a
Violations      City                    Oil Stains                         $250.00   $500.00
Violations      City                    Other Issues                       $250.00       n/a
Violations      City                    Permit Issue                       $250.00       n/a
Violations      City                    Pool Issue                         $250.00       n/a
Violations      City                    Structural Issue                   $250.00       n/a
Violations      City                    Trash Can                          $250.00       n/a
Violations      City                    Trash/Debris                       $250.00       n/a
Violations      City                    Vehicle/Parking                    $250.00       n/a
Violations      HOA                     Architectural Issue                $250.00       n/a
Violations      HOA                     Code Issue                         $250.00       n/a
Violations      HOA                     Cosmetic Issue                     $250.00       n/a
Violations      HOA                     Health & Safety Issue              $250.00       n/a
Violations      HOA                     Landscaping Enhancement Needed     $250.00       n/a
Violations      HOA                     Landscaping Service Needed/Weeds   $250.00       n/a
Violations      HOA                     Municipal Inspection               $250.00       n/a
Violations      HOA                     Notice of Hearing                  $250.00       n/a
Violations      HOA                     Oil Stains                         $250.00   $500.00
Violations      HOA                     Other Issues                       $250.00       n/a
Violations      HOA                     Permit Issue                       $250.00       n/a
Violations      HOA                     Pool Issue                         $250.00       n/a
Violations      HOA                     Structural Issue                   $250.00       n/a

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Violations         HOA                         Trash Can                        $250.00        n/a
Violations         HOA                         Trash/Debris                     $250.00        n/a
Violations         HOA                         Vehicle/Parking                  $250.00        n/a
Window Coverings   Coverings/Blinds            Not Working, Broken or Damaged   $200.00        n/a



  Afterhours NTEs shall apply to work formally approved during (i) the period after 5:00
  PM local time and before 7:00 AM local time, (ii) on weekends, and (iii) on Customer-
  recognized holidays.




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                                       SOW1 - Exhibit B
                            Pricing Terms and Location List
  1.   Fees for Reactive Services.

       a. SMS Assist will charge Customer the total cost of the Service Provider invoice for each Work
          Order for Reactive Services, plus the applicable markup specified below.

       b. The markup on Service Provider invoices payable by Customer to SMS Assist will be based on
          a structure that adjusts each period within the Term of the Agreement as follows:

                 -   Period 1: Months 1 - 12
                     Period: January 1, 2021 to December 31, 2021
                     Markup: 17.35% (equivalent to 14.78% margin)
                 -   Period 2: Months 13 - 24
                     Period: January 1, 2022 to December 31, 2022
                     Markup: 16.85% (equivalent to 14.42% margin)
                 -   Period 3: Months 25 - 36
                     Period: January 1, 2023 to December 31, 2023
                     Markup: 16.35% (equivalent to 14.05% margin)
                 -   Period 4: Months 37 - 48
                     Period: January 1, 2024 to December 31, 2024
                     Markup: 15.35% (equivalent to 13.31% margin)
                 -   Period 5: Months 49-60 (if extended)
                     Period: January 1, 2025 to December 31, 2025
                     Markup: 15.35% (equivalent to 13.31% margin)

       c. The above markups will apply to all Work Orders billed by SMS Assist to Customer within the
          applicable Period.

       d. The above markups will apply to all Reactive Services invoices regardless of the cost of any
          given Work Order, including, but not limited to, (a) recurring pool service invoices and (b) pool
          safety fence installation project invoices.

  2.     Fees for Completed In-House Work Orders.

       a. Definitions:

               i.    “In-House Work Orders” includes all reactive Work Orders completed by Customer’s
                     in-house technicians and for fee purposes excludes (a) completed Procare Work
                     Orders, (b) Fridge List Work Orders completed during a Procare Work Order Visit,
                     and (c) RAWO Work Orders identified and documented on-site by an in-house
                     technician of Customer and completed during the current or follow-on service visit
                     (whether reactive or proactive).




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               ii.     “Procare Work Order” means a recurring visit scheduled with an in-house technician
                       of Customer through the Procare Services program in SOW2. Procare Work Orders
                       are separate from Fridge List Work Orders and reactive Work Orders bundled into
                       Procare Work Orders and are charged accordingly.

              iii.     “Fridge List” means Work Orders added to Procare Work Orders through the “fridge
                       list” functionality in the Customer portal.

              iv.      “Request Additional Work Order (RAWO)” means a Work Order created by
                       Customer’s in-house technicians through the “RAWO” functionality in the mobile app.

               v.      The monthly “In-House Completion Rate” will be calculated at the end of each month
                       by dividing the total number of In-House Work Orders that month by the total number
                       of reactive Work Orders completed that month. For avoidance of doubt, both the
                       numerator and denominator exclude (a) completed Procare Work Orders, (b)
                       completed Fridge List Work Orders, and (c) completed RAWO Work Orders.

              vi.      The monthly “Combined In-House Work Order Fees” shall be equal to (a) the total
                       number of In-House Work Orders that month multiplied by (b) the Fee Per In-House
                       Work Order that corresponds to the applicable In-House Completion Rate in the below
                       table, plus the (c) the total number of Procare Work Orders that month multiplied by
                       (d) the Fee Per Procare Work Order. Combined In-House Work Order Fees will not
                       apply to Fridge List Work Orders or RAWO Work Orders.

       b. Combined In-House Work Order Fees: Customer will pay, on a monthly basis, a fee to SMS
          Assist for each In-House Work Order (the “In-House Work Order Fees”) and Procare Work Order
          (the “Procare Visit Fees”) based on the structure in the table below. SMS will invoice such fees,
          on a monthly basis, based on Customer’s fiscal monthly period (i.e. 26th through 25th), with such
          invoice to be sent within 2 business days following the end of the fiscal monthly period. The
          parties agree to work together during the week before the end of the fiscal month end to assure
          appropriate information flow between the parties and to assist in compliance with this Section.

                     In-House Completion        Fee Per In-House          Fee Per
                            Rate                  Work Order           Procare Work
                                                                          Order

                        Less than 60%                $15.00                $15.00

                         60% to 70%                  $18.00                $15.00

                       Greater than 70%              $20.00                $15.00


           If the In-House Completion Rate is 60% or greater, the highest applicable tier’s fee will be
           applied to all In-House Work Orders that month. The Fee per Procare Work Order will be $15.00
           regardless of the In-House Completion Rate. For example, assuming completion of 600 reactive
           Work Orders and 100 Procare Work Orders during the month in each scenario below:

                i.     If Customer completes 200 In-House Work Orders during the month, the In-House

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                     Completion Rate for that month is 33.33% (200 / 600). The In-House Work Order
                     Fees for that month will be $3,000.00 (200 * $15.00). The Procare Work Order Fees
                     for that month will be $1,500.00 (100 * $15.00). The Combined In-House Work Order
                     Fees for that month will be $4,500.00 ($3,000.00 + $1,500.00).
               ii.   If Customer completes 400 In-House Work Orders during the month, the In-House
                     Completion Rate for that month is 66.67% (400 / 600). The In-House Work Order
                     Fees for that month will be $7,200.00 (400 * $18.00). The Procare Work Order Fees
                     for that month will be $1,500.00 (100 * $15.00). The Combined In-House Work Order
                     Fees for that month will be $8,700.00 ($7,200.00 + $1,500.00).
              iii.   If Customer completes 450 In-House Work Orders during the month, the In-House
                     Completion Rate for that month is 75% (450 / 600). The In-House Work Order Fees
                     for that month will be $9,000.00 (450 * $20.00). The Procare Work Order Fees for
                     that month will be $1,500.00 (100 * $15.00). The Combined In-House Work Order
                     Fees for that month will be $10,500.00 ($9,000.00 + $1,500.00).

       c. Obligations of SMS Assist: Except as expressly set forth in this SOW1 and SOW2 (including
          but not limited to Work Order creation and scheduling obligations) and notwithstanding
          anything to the contrary contained in this Agreement, SMS Assist shall have no obligation with
          respect to the In-House Work Orders or Procare Services. Obligations of SMS Assist that are
          disclaimed for the purposes of this SOW1 and SOW 2 include any obligation to perform the
          Services to a particular standard or quality, any obligation with respect to Customer’s in-house
          technicians, and the obligation to indemnify, defend, or hold Customer harmless (as further
          described in Section 7 of the Agreement). Additionally, Customer shall indemnify, defend and
          hold SMS Assist harmless from and against any and all claims, damages, costs, losses, liabilities
          and expenses (including reasonable legal fees) arising out of or relating to the actions and
          craftmanship of Customer’s In-House Work Orders or Procare Services, except that which
          occurs as a result of the gross negligence of SMS Assist.

  3.   Locations. The list of Locations covered under this SOW1 is set forth in the customer portfolio
       report (“SOW1 Customer Portfolio Report”), as follows:

            a. The SOW1 Customer Portfolio Report will be maintained via the Platform and include all
               Customer owned properties in the Regions below and any other Regions where Customer
               is operating as of the Effective Date, excluding any corporate or management offices.


                                                 Regions
                                         Atlanta
                                         Carolinas
                                         Chicago
                                         Dallas
                                         Denver
                                         Houston
                                         Jacksonville
                                         Las Vegas
                                         Minneapolis
                                         Nashville
                                         Northern California
                                         Orlando
                                         Phoenix


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                                      Seattle
                                      South Florida
                                      Southern California
                                      Tampa



          b. Customer will provide SMS Assist with a list of newly opened locations as soon as
             reasonably practical and SMS Assist will add such new locations to Platform within seven
             (7) days of receipt of such notice from Customer.

          c. In the event a Location is sold, Customer may deactivate such Location from the SOW1
             Customer Portfolio Report via API or via written request by the Customer and the Location
             removal will be updated in the Platform by SMS Assist.

          d. SMS Assist will remove Locations that are terminated in accordance with Section 4 of this
             Agreement from the SOW1 Customer Portfolio Report as of the date of termination for
             such Location.

          e. The parties agree to regularly review the list of Locations in the SOW1 Customer Portfolio
             Report and in the event of any inconsistencies, Customer and SMS Assist will work to
             resolve the inaccuracies in a timely manner.




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                                              SOW2
                                      Statement of Work 2 for
                                          Procare Services

          This Statement of Work for Procare Services (this “SOW2”) is entered into as of January 1, 2021,
   by and between THR PROPERTY MANAGEMENT L.P. (“Customer”) and SMS ASSIST, L.L.C.
   (“SMS Assist”). This SOW2 is hereby incorporated by reference and made a part of the Master Services
   Agreement effective January 1, 2021 by and between Customer and SMS Assist (“Agreement”). Except
   as otherwise defined in this SOW2, all capitalized terms used in this SOW2 shall have the same meanings
   assigned to them in the Agreement.

       1. Scope of Contract Services. SMS Assist shall provide Customer with the Contract Services set
          forth on SOW2 - Exhibit A attached to and made a part of the Agreement.

       2. Locations. SMS Assist shall provide the Contract Services at the Locations listed on SOW2 -
          Exhibit B attached hereto.

       3. Termination. In the event that SOW1 is terminated, this SOW2 will automatically terminate as
          of the date of such termination.

  IN WITNESS WHERE OF, the parties hereto have caused this SOW2 to be duly executed the day and
  year first above written.


   THR PROPERTY MANAGEMENT L.P.:                           SMS ASSIST, L.L.C.:


   Signature:                                              Signature:

   Name:                                                   Name:

   Title:                                                  Title:

   Date:                                                   Date:




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                                       SOW2 - Exhibit A
                                        Scope of Services
     1. For the purposes of this Agreement, a “Procare Service” means an automatically scheduled Work
        Order, Survey, or a Customer created and scheduled in-house inspection Work Orders for the
        inspection of a Location by an employee of Customer. SMS Assist shall not have any obligation to
        perform the Procare Services and Customer’s employees shall have the exclusive responsibility to
        perform Procare Services.

     2. SMS Assist will work, in good faith and using commercially reasonable efforts, to develop a
        Customer-branded resident mobile app (“Resident App”) that will provide functionality for a
        resident to submit, manage, and monitor Reactive Work Orders as well as Proactive Service Work
        Orders, including any minor repairs or issues to be addressed during the Procare Work Order visit.
        The Resident App will be fully integrated with the functionality and data within the Platform and
        will be provided to Customer subject to the terms of Section 9 (Intellectual Property) of this
        Agreement. Customer grants SMS Assist a license to use Customer’s logo and other trademarks
        during the term of this Agreement as requested by Customer for purposes of the design and delivery
        of the Resident App. Customer shall use commercially reasonable efforts to actively promote the
        Resident App to its residents in order to maximize adoption of the Resident App.

     3. If Customer’s employee identifies a repair that cannot be completed during the Procare visit, the
        employee will submit a RAWO Work Order under SOW1. Any reactive repairs, non-minor repairs,
        or repairs requiring a follow-up visit are outside the scope of this SOW2.




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                                       SOW2 - Exhibit B
                                          Locations List

  The list of Locations covered under this SOW2 is set forth in the customer portfolio report (“SOW2
  Customer Portfolio Report”), as follows:

     1. The SOW2 Customer Portfolio Report will be maintained via the Platform.
     2. Customer will provide SMS Assist with a list of newly acquired locations as soon as reasonably
        practical and SMS Assist will add such new locations to Platform within seven (7) days of receipt
        of such notice from Customer.
     3. In the event a Location is sold, Customer may deactivate such Location from the SOW2 Customer
        Portfolio Report via API and the Location deactivation will be automatically updated in the
        Platform.
     4. SMS Assist will remove Locations that are terminated in accordance with Section 4 from the SOW2
        Customer Portfolio Report as of the date of termination for such Location.
     5. The parties agree to regularly review the list of Locations in the SOW2 Customer Portfolio Report
        and in the event of any inconsistencies, Customer and SMS Assist will work to resolve the
        inaccuracies in a timely manner.




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                                    SOW3
    Statement of Work 3 for Pass-Through Services (SmartRent Installations)

          This Statement of Work for Pass-Through Services (SmartRent Installations) (this “SOW3”) is
   entered into as of January 1, 2021, by and between THR PROPERTY MANAGEMENT L.P.
   (“Customer”) and SMS ASSIST, L.L.C. (“SMS Assist”). This SOW3 is hereby incorporated by reference
   and made a part of the Master Services Agreement effective January 1, 2021 by and between Customer
   and SMS Assist (“Agreement”). Except as otherwise defined in this SOW3, all capitalized terms used in
   this SOW3 shall have the same meanings assigned to them in the Agreement.

  1. Contract Services to be Provided by SMS Assist.
      a. SMS Assist will dispatch Work Orders for home automation installations to SmartRent.com, Inc.
         (“SmartRent”) as directed by Customer (such Work Orders, “Pass-Through Services”), provided
         that SmartRent has completed all applicable onboarding and documentation requirements of SMS
         Assist.
      b. SMS Assist will manage the Work Orders to completion including performing any necessary
         follow-up or communication with SmartRent, monitoring Work Order statuses, and confirming
         Customer satisfaction with the Work Order.
      c. SMS Assist will process invoices from SmartRent provided that SmartRent completes all required
         documentation and SMS Assist has received payment from Customer.
      d. SMS Assist will keep Customer informed of the progress, including any issues or concerns relating
         to the Pass-Through Services.
  2. Reporting. The parties will agree upon the reporting metrics for Pass-Through Services, which will
      be delivered through the Platform.
  3. Obligations of SMS Assist. Except as expressly set forth in this SOW3 and notwithstanding anything
      to the contrary contained in this Agreement, SMS Assist shall have no obligation with respect to the
      Pass-Through Services. Obligations of SMS Assist that are disclaimed for the purposes of this SOW3
      include, but are not limited to, any obligation to perform the Services to a particular standard or quality,
      any obligation with respect to SmartRent, and the obligation to indemnify, defend, or hold Customer
      harmless (as further described in Section 7 of the Agreement). Additionally, Customer shall indemnify,
      defend and hold SMS Assist harmless from and against any and all claims, damages, costs, losses,
      liabilities and expenses (including reasonable legal fees) arising out of or relating to the Pass-Through
      Services except that which occurs as a result of the gross negligence of SMS Assist.
  4. Fees. SMS Assist agrees to invoice for Pass-Through Services in accordance with Section 2 of the
      Agreement (Price and Payment Terms). The fee for Pass-Through Services is based on installation cost
      as applied by the mark-up fees set forth in SOW1, Exhibit B. The fee for a Pass-Through Service does
      not include SmartRent’s product cost, which remains the responsibility of the Customer.
                                                 [signatures follow]




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  IN WITNESS WHERE OF, the parties hereto have caused this SOW3 to be duly executed the day and
  year first above written.


   THR PROPERTY MANAGEMENT L.P.:                 SMS ASSIST, L.L.C.:
   Signature:                                    Signature:
   Name:                                         Name:
   Title:                                        Title:
   Date:                                         Date:




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                                       SOW4
           Statement of Work 4 for Pass-Through Services (GE Appliances)

           This Statement of Work for Pass-Through Services (GE Appliances) (this “SOW4”) is entered
   into as of January 1, 2021, by and between THR PROPERTY MANAGEMENT L.P. (“Customer”) and
   SMS ASSIST, L.L.C. (“SMS Assist”). This SOW4 is hereby incorporated by reference and made a part
   of the Master Services Agreement effective January 1, 2021 by and between Customer and SMS Assist
   (“Agreement”). Except as otherwise defined in this SOW4, all capitalized terms used in this SOW4 shall
   have the same meanings assigned to them in the Agreement.

  1. Contract Services to be Provided by SMS Assist.
      a. As directed by Customer, SMS Assist will dispatch Work Orders for the purchase, installation, and
         delivery of an appliance (or appliances) to Sibi, LLC (“Sibi”), which will fulfill Customer’s
         purchase, installation, and delivery orders through the appliance manufacturer Haier US Appliance
         Solutions, Inc. dba GE Appliances (“GEA”) (such Work Orders, “Appliance Pass-Through
         Orders”), provided that Sibi and GEA have completed all applicable onboarding and documentation
         requirements of SMS Assist.
      b. SMS Assist will manage the Work Orders to completion, including monitoring Work Order statuses
         and confirming Customer satisfaction with the Work Order.
      c. SMS Assist will process invoices from GEA provided that Sibi and GEA complete all required
         documentation and SMS Assist has received payment from Customer.
      d. SMS Assist will keep Customer informed of the progress of delivery and installation as
         communicated to SMS Assist by Sibi and GEA, including any issues or concerns relating to the
         Appliance Pass-Through Orders.

  2. Reporting. The parties will agree upon the reporting metrics for Appliance Pass-Through Orders,
      which will be delivered through the Platform.

  3. Obligations of SMS Assist. Except as expressly set forth in this SOW4 and notwithstanding anything
      to the contrary contained in this Agreement, SMS Assist shall have no obligation with respect to the
      Appliance Pass-Through Orders. Obligations of SMS Assist that are disclaimed for the purposes of
      this SOW4 include, but are not limited to, any obligation to perform the Services to a particular standard
      or quality, any obligation with respect to Sibi and/or GEA, and the obligation to indemnify, defend, or
      hold Customer harmless (as further described in Section 7 of the Agreement). Additionally, Customer
      shall indemnify, defend and hold SMS Assist harmless from and against any and all claims, damages,
      costs, losses, liabilities and expenses (including reasonable legal fees) arising out of or relating to the
      Appliance Pass-Through Orders except that which occurs as a result of the gross negligence of SMS
      Assist.

  4. Fees. SMS Assist agrees to invoice for the Appliance Pass-Through Orders in accordance with Section
      2 of the Agreement (Price and Payment Terms). SMS Assist will charge Customer the applicable
      markup, in accordance with SOW1 – Exhibit B, Section 1, on the total cost of the Appliance Pass-
      Through Order, exclusive of applicable taxes. This markup charge for any Appliance Pass-Through
      Order does not include either Sibi or GEA’s cost of appliances, delivery, or installation services related
      thereto, which remain the responsibility of the Customer.

                                              [signatures follow]


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  IN WITNESS WHERE OF, the parties hereto have caused this SOW4 to be duly executed the day and
  year first above written.


  THR PROPERTY MANAGEMENT L.P.:                 SMS ASSIST, L.L.C.:
  Signature:                                    Signature:
  Name:                                         Name:
  Title:                                        Title:
  Date:                                         Date:




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